Case 2:20-cr-20090-MSN Document 19 Filed 05/21/20 Page 1 of 8   PageID 52
Case 2:20-cr-20090-MSN Document 19 Filed 05/21/20 Page 2 of 8   PageID 53
Case 2:20-cr-20090-MSN Document 19 Filed 05/21/20 Page 3 of 8   PageID 54
Case 2:20-cr-20090-MSN Document 19 Filed 05/21/20 Page 4 of 8   PageID 55
Case 2:20-cr-20090-MSN Document 19 Filed 05/21/20 Page 5 of 8   PageID 56
Case 2:20-cr-20090-MSN Document 19 Filed 05/21/20 Page 6 of 8   PageID 57
Case 2:20-cr-20090-MSN Document 19 Filed 05/21/20 Page 7 of 8   PageID 58
Case 2:20-cr-20090-MSN Document 19 Filed 05/21/20 Page 8 of 8   PageID 59
